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UNITED STATES DISTRICT COURT
FOR THE
SOUTHERN DISTRICT OF FLORIDA

SECURITIES AND EXCHANGE COMMISSION,

)
)
)
Plaintiff, ) CIVIL ACTION NO.:
v. )
) 98-7044
DAVID MORGENSTERN, FRED MORGENSTERN, _ )
BERNADETTE STEVENS, AND ) CIV - DINNTRAYWHEASO x
AMQUEST INTERNATIONAL, LTD., ) Magistrate Judgé Geit@er
)
Defendants. ) 4 O-4
Au 999
CARLOS JUENKE

LERK, USDC /SDFLYFTL
DEFENDANTS AMQUEST INTERNATIONAL, LTD,, SLEEPSOURCE DELUF

INTERNATIONAL, INC., DAVID MORGENSTERN AND FRED
MORGENSTERN’S MOTION FOR PROTECTIVE ORDER
AS TO DEPOSITIONS SCHEDULED FOR JULY 14", 1999,

JULY 215", 1999 AND JULY 28" 1999

DEFENDANTS, AMQUEST INTERNATIONAL, LTD., SLEEPSOURCE
INTERNATIONAL, INC., DAVID, MORGENSTERN, AND’ FRED
MORGENSTERN, by and through their undersigned counsel, and pursuant to
Federal Rule of Civil Procedure 26(c) and 30 and Local Rule for the Southern
District of Florida 7.1, hereby moves for a Protective Order with respect to the
depositions of Ronald Brion set for July 14", 1999, the deposition of Donald
Paradiso, Esquire on July 21% 1999 and the deposition of Robert Manis on July
28", 1999 which were scheduled by the Plaintiff, the SEC and the basis for this
Motion i's as follows:

1. The SEC has scheduled the depositions of Ronald Brion (July 44”

1999), Donald Paradiso, Esquire (July 21% 1999) and Robert Manis

(July 28, 1999).
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2. Undersigned counsel has made a good faith effort and has attempted
to resolve this matter with counsel for the SEC, Glen Harris, Esquire,
in a telephonic conference on July 6, 1999, to no avail.

3. During a telephonic conversation with Mr. Harris in June of 1999, it is
the understanding of undersigned counsel that Mr. Harris agreed to re-
schedule the depositions set for July, including the above-listed
depositions, in order to permit Defense counsel to review the
documentation from the SEC’s investigation prior to taking Discovery
depositions. See, copy of letter dated June 8, 1999 to Mr. Harris,
attached hereto as Exhibit “A” and incorporated herein by reference.
Undersigned counsel! attempted to verify that understanding in writing
per letter of June 21, 1999, as undersigned counsel was yet to receive
concrete dates for review of the SEC’s investigatory files. See, copy of
letter attached hereto as Exhibit “B” and incorporated herein by
reference.

4. The SEC had never provided concrete dates with respect to when
undersigned counsel and other Defense counsel may review the
investigatory files of the SEC, which, according to the SEC, comprise
“ten (10) or twelve (12) banker boxes” of documents.

5. In a conversation in mid-April, Glen Harris, Esquire advised
undersigned counsel that he would set up a review of documentation
from the investigatory files of the SEC for the “end of the month” and
that he would let me know what dates the investigatory files would, in

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fact, be available for review. Mr. Harris confirmed same in writing.
See, copy of attached letter from Glen Harris, Esquire to undersigned
counsel, attached hereto as Exhibit “C” and incorporated herein by
reference.

6. No concrete dates were ever provided by Mr. Harris for April or May.

7. In June, 1999, during the conversation in which Mr. Harris and
undersigned counsel discussed re-scheduling the depositions so that
Defense counsel would have an opportunity to review the investigatory
files of the SEC, Mr. Harris advised that he was going out of town for
the rest of the week, and would contact me the following week, the
week of June 14", 1999, to provide concrete dates for review.

8. After her letter to Mr. Harris of June 21, 1999, to which Mr. Harris did
not reply, undersigned counsel attempted to reach Mr. Harris during the
week of June 28” regarding the re-scheduling the above three (3)
depositions in light of the fact that he had never provided dates for
review of the documentation in the investigatory files of the SEC. Mr.
Harris returned the call on Friday, July 27 1999 advising that he
would not re-schedule the depositions. Through Tuesday, July 6”
1999, undersigned counsel! never heard received from Mr. Harris any
offer of dates for the review of the investigatory files.

9. In the telephonic conversation with Mr. Harris on July 6" 1999, after
the Holiday weekend, Mr. Harris first gave a date for the review of the
documentation, i.e., Thursday, July 8", 1999, only three(3) business

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days prior to the first (1°) of the above depositions.’ See, copy of letter
from Mr. Harris dated July 7, 1999, attached hereto as Exhibit “D’ and
incorporated herein by reference.

10. Clearly, to proceed with depositions of witnesses critical to the SEC’s
case without the benefit of reviewing the ten (10) to twelve (12) banker
boxes full of investigatory files that the SEC has compiled in the two (2)
year investigation prior to the filing of this action will severely prejudice
and irreparably harm the Defendants.

11. The purpose of discovery is to permit the Plaintiff to reasonably
prepare its case and the Defense to reasonably discern the strengths
and weaknesses of the Plaintiffs case, to reasonably discern defenses
to the Plaintiffs case and to evaluate the strengths and weaknesses of
the Plaintiffs case and the defenses in order to evaluate settlement
possibilities and litigation strategies.

12. The SEC would now have it such that the defense in a de facto
position of having no real opportunity to review documents to which
the Defendants are entitled as a matter of law.

13. Additionally, Mr. Harris was apprised that undersigned counsel is
required to go out of town during the time period of the depositions set

for July 14" and 21°. While it is true that the trip was scheduled after

‘Mr. Harris stated that he had accommodated undersigned counsel as much as he would, that
he was “f-----g litigating this case” against the clients of undersigned counsel and that hopefully
the Defendants would “get burned and [he] can’t wait for that day” and thus, he was “proceeding
{with the depositions] - screw them’.

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the SEC’s scheduling of the depositions, in fact only two (2) weeks
ago, part of the reason of the scheduling of the trip was due to medical
necessity as to a member of undersigned counsel’s immediate family.
Thus, the trip involves attending to the medical decisions for
undersigned counsel’s family member.

14. Accordingly, Defendants AMQUEST INTERNATIONAL, LTD.,
SLEEPSOURCE INTERNATIONAL, INC., DAVID, MORGENSTERN,
AND FRED MORGENSTERN respecttully submit that, to the extent the
SEC has re-scheduled other witnesses critical to their case for
depositions to be had in September and October of this year, the re-
scheduling of the above three (3) stated depositions wiil not prejudice
the SEC, but rather proceeding with the depositions will severely
prejudice and irreparably harm the Defendants.

WHEREFORE, Defendants AMQUEST INTERNATIONAL, LTD.,
SLEEPSOURCE INTERNATIONAL, INC., DAVID, MORGENSTERN AND FRED
MORGENSTERN pray this Honorable Court enter an Order of Protection with
respect to the depositions of Ronald Brion, Donald Paradiso, Esquire and Robert
Manis and grant any and all further relief this Court deems just and proper.

MEMORANDUM OF LAW

Federal Rule of Civil Procedure 26( c) provides, in pertinent part:

Upon motion by a party or by the person from whom

discovery is sought, accompanied by a certification

that the movant has in good faith conferred or attempted

to confer with other affected parties in an effort to

resolve the pending dispute without court action, and

for good cause shown, the court... may make any

order which justice requires to protect a party or person

from annoyance, embarrassment, oppression or

undue burden. . . including one or more of the following:
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(1) that the disclosure or discovery not be had:

(2) that the disclosure or discovery be had only on
specified terms and conditions, including a
designation of the time or place. . .

Federal Rule of Civil Procedure 26{ c), 28 U.S.C. (emphasis
added).

As this Court is aware, the filing of a motion for protective order is the
proper procedure for resolution of a discovery dispute, such as the re-
scheduling of the above set forth depositions in the case at bar, where the
parties have been unable to resolve the dispute without the necessity of court

action. See, Continental Federal Savings & Loan Ass’n v. Delta Corp. of

America, 71 F.R.D. 697 (D.C. Okla. 1976). It is only necessitated out of the
lack of non-judicial resolution. The Defendants are, therefore, compelled to
file the instant Motion for Protective Order.

Amaquest, Sleepsource and Messrs. Morgenstern seek the protection of
this Court with respect to the depositions of Ronald Brion (July 14), Donald
Paradiso (July 21) and Robert Manis (July 28) as a result of the SEC’s refusal
to cooperatively re-schedule these three (3) depositions and provide a
sufficient review period of its investigatory files to the Defendants. The SEC’s
position and lack of cooperation is untenable in light of the fact that the SEC
has re-scheduled every other deposition originally scheduled during the month
of July. While undersigned counsel has made a good faith effort to work with
counsel for the SEC, Glen Harris, Esquire, to resolve this matter, it does not

appear that the SEC has any good faith reason to refuse to re-schedule these

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depositions to the months of September and October, 1999, as it has with five
(5) other depositions.

Notwithstanding the lack of cooperation on the part of the SEC, the
Defendants can demonstrate good cause” by establishing the particular need
for the protection in this case with specific examples and articulated reasoning
of the severe and irreparable harm and prejudice the Defendants will suffer

should the depositions proceed as currently scheduled. See, Frank v. County

of Hudson, 924 F.Supp. 620 (D.N.J. 1996); Welsh v. City and County of San

Francisco, 887 F.Supp. 1293 (N.D. Cal. 1995); U.S. v. Swissco Properties

within Southern District_of Florida, 821 F.Supp. 1472 (S.D.Fla. 1993).

Should the depositions proceed as scheduled in July, 1999, the Defendants
will be deprived of having ample opportunity to review the 10 to 12 boxes of
documents the SEC has amassed as evidence against the Defendants; the
Defendants will not have an adequate opportunity to obtain copies of the
documents for use in the depositions; the Defendants will be without the
opportunity to determine which documents correlate to the respective
witnesses, the Defendants and its counsel will not have the opportunity to
review the documents and digest the documents in order to focus and prepare
defense examination of the witnesses; the Defendants will have no meaningful

opportunity to depose the witnesses and to impeach the witnesses’ testimony;

2 “[T]he sole criteria for determining the validity of a protective order is the statutory

requirement of ‘good cause’.” In re Alexander Grant_& Co. Litigation, 820 F.2d 352, 357 (11
Cir. 1987), citing Seattle Times Co. v. Rhinehart, 467 U.S. 20 at 37 (1984): Cippolione v. Liggett
Group, Inc., 785 F.2d 1108 at 1119 (3d Cir. 1986); Tavoulareas v._ Washington Post Co., 737
F.2d 1170 at 1172 (D.C. Cir. 1984).

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the Defendants will be whoily unable to use the depositions to their benefit
and to their defense, as one is able to do when fully prepared; and further, the
Defendants will have no ability to determine areas of potential criminal liability
exposure in order to adequately defend the Defendants in the depositions. In
effect, as a result of the sandbag tactic the SEC has now engaged with
respect to the Defendant’s review of the investigatory files commencing three
(3) business days prior to July 14, 1999 deposition of Mr. Brion, the
Defendants will be deprived of having the ability to effectively cross examine
the witnesses. The implications of ineffective discovery in this action by the
Defendants will completely preclude the Defendants from being able to
establish their defenses, which could ultimately preclude the Defendants from
having a fair trial. Thus, the Defendants are effectively being deprived of their
rights to due process.

At least two (2) of the witnesses, Mr. Paradiso and Mr. Manis are
extremely critical witnesses for the SEC in that Mr. Paradiso is a former
attorney for Amquest and Mr. Manis, a former accountant. Presumably, the
SEC has received during the course of its lengthy investigation prior to the
institution of this action non-privileged-documents from Messrs. Paradiso and
Manis; the SEC will examine these witnesses extensively on such documents
and other documents amassed by it. While some of their testimony may be
privileged, there will be numerous areas to which they will be able to testify.
The Defendants are entitled to the opportunity to fully flesh out the witnesses’

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credibility, recollection, knowledge and all documentation which the SEC will
use in these depositions.

Due to the last minute invitation offered to review documents, undersigned
counsel could not cancel court appears (evidentiary hearings) and depositions
to be present for review on July 8 and 9, 1999, and would request that dates
be mutually arranged for the investigatory document review. Absence a
Protective Order, the SEC will proceed to take the depositions of the above
three (3) witnesses to the irreparable damage to the Defendants and their
defense.

As shown herein, good cause has been demonstrated that the Defendants
will be severly prejudiced and will suffer harm beyond repair if the depositions
proceed. Federal Rule of Civil Procedure 26( c). Accordingly, Defendants
pray this Honorable Court and enter a Protective Order preventing the
depositions, as currently scheduled, from proceeding; requiring the
rescheduling of the depositions as with other depositions reset to September
and October, 1999; requiring the SEC to provide alternate dates for the
mutual scheduling of the Defense review of the investigatory files, with
reasonable notice; and awarding the Defendants the attorney's fees and costs
associated with the necessity of filing this Motion, pursuant to Federal Rule of
Civil Procedure 37(a)(4).

Respectfully submitted,

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Morgenstern, et al. adv. SEC July, 1999

Defendants’ Motion for Protective Order as to
Depositions Scheduled for July 14". 21% and 28", 1999

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LAURIE BOLCH, ESQUIRE

Attorney for Defendants

Florida Bar No. 764477

LAURIE BOLCH, P.A.

555 South Federal Highway, Suite 400
Boca Raton, Florida 33432
561-338-0477 - Phone

561-338-0477 - Facsimile

CERTIFICATE OF SERVICE

| HEREBY CERTIFY that a true and correct copy of the foregoing was
served via facsimile transmission to Glen A. Harris, Esquire at (305) 536-7465
and U.S. Mail at Securities and Exchange Commission, 1401 Brickel Avenue,
Suite 200, Miami, Florida 33131 and via facsimile transmission to Steven M.
Katzman, Esquire at (561) 835-1242 and U.S. Mail at Tew Cardenas Rebak
Kellogg Lehman DeMaria & Tague, L.L.P., Comeau Building, Suite 1000, 309
Clematis Street, West Palm Beach, Florida 33401 this “”’ day of July,1999

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LAURIE BOLCH, ESQUIRE

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Case 0:98-cv-07044-PAS _DodARIS BOLGHeP dy FLSD Docket 07/13/1999 Page 11 of 15
A PROFESSIONAL ASSOCIATION

555 South Federal Highway, Suite 400
Boca Raton, Florida 33432
561-338-0477-Phone
561-338-7792-Facsimile

June 8, 1999

Glen A. Harris, Esquire VIA Facsimile: 1-305-536-7465
Senior Trial Counsel

Securities and Exchange Commission

1401 Brickel Avenue, Suite 200

Miami, Florida 33131

RE: SEC vs. Morgenstern, et al.

Dear Glen:

Please contact me to arrange dates for me to come to your offices to review
documents pursuant to local Rule 16.1(B) (1). We will designate at that time
those documents we want copied.

It is our expectation that the documents made available for our review will
include all documents relating to Amaquest International, Sleepsource,
International, Kinsman, Merchant & Associates, and the individual defendants,
including any and all files generated by (name of law firm) regarding these
entities and persons. It is our further expectation that witness statements,
customer questionnaires, customer interviews, and other interviews will be
included in the production.

Pursuant to the Rule, if the documents you show us are not numbered, we will
also want to receive a list of the documents. If any documents are withheld on
grounds of privilege or on claim of work product, we will want a list of them, to
include sufficient information for us to determine whether the assertion of
privilege or work product is proper. —

| also wish to advise that Mr. David Morgenstern expects to retain new counsel in
this matter. This should be accomplished fairly soon.

We do not believe that the present schedule for depositions you have noticed is
realistic and seek your agreement that the depositions be postponed. First,
there are thousands of pages of documents for us to review before we can be
prepared to defend the depositions of parties and to cross-examine third party
witnesses. We will not be seeing those documents unti (daie above), and it will
undoubtedly take several days for copies to be made and delivered to us. We
cannot possibly digest all this material in time to be ready for depositions on the
cresent schedule

Second, as noted above, Mr. David Morgenstern will be retaining new counsel,
and they will need time to get up to speed, as will Ms. Stevens’ new attorney.
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Third, the attorneys who formerly represented Amquest have refused to turn over
to us the company’s files. They have also refused to let us see the files.
Consequently, we are not now in a position even to see many of our own clients’
documents. We are in the process of issuing a subpoena to the law firm for
those documents. but obtaining them will take some time. It is apparent that we
need these documents in order to prepare for depositions.

Discovery will not close for many months, so delaying the depositions should not
result in any scheduling problems. | will be in touch with you soon to discuss a
more realistic deposition schedule.

Sincerely,

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LAURIE BOLCH, ESQUIRE
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A PROFESSIONAL ASSOCIATION
§55 South Federal Highway, Suite 400
Boca Raton, Florida 33432
561-338-0477-Phone
561-338-7792-Facsimile

June 21. 1999

Glen A. Harris, Esquire VIA Facsimile: 1-305-536-7465
Senior Trial Counsel

Securities and Exchange Commission

1401 Brickel Avenue, Suite 200

Miami, Florida 33131

RE: Morgenstern/Amquest, et al. adv. SEC

Dear Glen:

Thank you for your courtesies with respect to re-setting the depositions of
Messrs. Morgensterns (David and Fred). Please advise me as to the status of
the depositions of several witnesses you have set for July. Are you re-
scheduling those for the months of September and October of this year as well
so that we may have the ability to review documentation prior those depositions?
Please advise as soon as possible. Thank you again for your courtesies.

Very truly yours,
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Aust
LAURIE BOLCH, ESQUIRE

LB/dh

CC: Clients

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(S=@Rse 0:98-cv-07044-PAS DocunldiN BRE Bn&fABESLSD Docket 07/13/1999 Page 14 of 15
j SECURITIES AND EXCHANGE COMMISSION

SOUTHEAST REGIONAL OFFICE
SUITE 200
1401 BRICKELL AVENUE

MIAMI, FLORIDA 33131
(305) 536-4700

April 27, 1999

Direct Dial: 305 982-634]
VIA FAX (561-338-77920)

Laurie Bolch, Esq.

3355 South Federal Highway
Suite 400

Boca Raton, Flonda 33432

Re: SEC». Morgenstern. Case No. 98-7044-Civ-Dimitouleas, §.D. Fla

Dear Ms. Bolch:

In response to your request to review the “investigative file” in this matter and pursuant to
our phone discussion several weeks ago, the SEC is making its documents available for inspection
at our offices. The documents include records subpoenaed from third parties and the transcripts
of testimony obtained during the investigation, but do not include work product, attorney-client
and other privileged documents.

Also enclosed are Notices of Taking Depositions for your clients and others. You and |
discussed the specific dates for the Morgensterns and Ms. Stevens, but you did not call be back
regarding there availability, therefore I assume the dates are good. The Court has set a very tight
discovery period, therefore we are moving torward with discovery.

I would like to review any new or additional documents that you may utilize at trial. [ will
forward a detailed request for documents so that they will be available prior to the June
depositions.

Senior Trial Counsel

Enclosures

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Sp RCTS UNITED STATES

SECURITIES AND EXCHANGE COMMISSION
SOUTHEAST REGIONAL OFFICE
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MIAMI, FLORIDA 33131
(305) 536-4700

July 7, 1999

Direct Dial: 305 982-6341
VIA FAX (561-338-7792)

Laurie Bolch, Esq.

555 South Federal Highway
Suite 400

Boca Raton, Flonda 33432

Re: SEC v. Morgenstern, Case No. 98-7044-Civ-Dimitouleas, §.D. Fla

Dear Ms. Bolch:

I will not agree to further postpone the depositions currently scheduled for this month.
The notices of depositions were issued in April 1999. The SEC has already rescheduled the
depositions of Fred and David Morgenstern at your request.

In April 1999, I informed you by phone and by letter that the SEC was making its
documents available for inspection during the end of April. You never bothered to review the
documents at that time. Therefore, I will not further postpone depositions because you have not
reviewed those documents. However, the SEC will once again make documents available for
inspection this Thursday, July 8, 1999, through July 13, 1999. Please call me to inform me of
when you intend to visit during this period.

Glenn A. Harris
Senior Trial Counsel

Enclosures

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